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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                               §
In re:                                                         §        Case No. 24-90398 (CML)
                                                               §
SouthRock Capital Ltda., et al.1                               §        Chapter 15
                                                               §
                                                               §
                     Debtors in Foreign Proceeding.            §        (Jointly Administered)
                                                               §

    NOTICE OF FILING OF PROPOSED ORDER GRANTING THE JOINT VERIFIED
      PETITION FOR RECOGNITION OF FOREIGN MAIN PROCEEDINGS AND
              MOTION FOR ORDER GRANTING RELATED RELIEF
      PURSUANT TO BANKRUPTCY CODE SECTIONS 1515, 1517, 1520, AND 1521

         Fabio David Rohr (“Rohr”), in his capacity as Foreign Representative (the “Foreign

Representative” or the “Petitioner”) of the above-captioned Debtors, which are subject of a

Brazilian insolvency proceeding pending before the 1st Bankruptcy Court of the Central Forum of

São Paulo, Brazil under case number 1153819-28.2023.8.26.0100, hereby files this Notice of

Filing of Proposed Order Granting the Joint Verified Petition for Recognition of Foreign Main

Proceedings and Motion for Order Granting Related Relief Pursuant to Bankruptcy Code Sections

1515, 1517, 1520, and 1521 (ECF No. 9) (the “Verified Petition”). The Foreign Representative

seeks entry of the attached proposed order at the hearing on the Verified Petition on July 15, 2024

at 1:00 p.m. (prevailing Central Time).




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    The debtors in these chapter 15 cases, along with the last four digits of each debtor’s Brazilian tax identification
    number, are as follows: (a) SouthRock Capital Ltda. (01-35); (b) Americana Franquia S.A. (01-51); (c) Brazil
    Airport Restaurantes S.A. (01-73); (d) HB Participações S.A. (01-57); (e) SRC 5 Participações Ltda. (01-02); (f)
    SRC 6 Participações Ltda. (01-41); (g) SRC Holding Participações S.A.(01-74); (h) SR N Participações S.A. (01-
    01); (i) Star Participações S.A. (01-09); (j) Starbucks Brasil Comércio de Cafés Ltda. (01-00); (k) SW do Brasil
    Ltda. (01-20); (l) SW Stores do Brasil Ltda. (01-36); and (m) Wahalla Ltda. (01-10). The Debtors’ mailing and
    service address is Avenida Paulista, 1294, 14º andar, sala 14, Bela Vista, São Paulo/SP, CEP 01310-915, Brazil.
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Respectfully submitted this 15th day of July 2024.

                                        QUINN EMANUEL URQUHART &
                                        SULLIVAN, LLP

                                        /s/ Joanna D. Caytas
                                        Patricia B. Tomasco
                                        SBN 01797600
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                                        COUNSEL FOR FABIO D. ROHR,
                                        FOREIGN REPRESENTATIVE




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